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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 21-CR-175 (TJK)
                                             :
ETHAN NORDEAN,                               :
JOSEPH BIGGS,                                :
ZACHARY REHL, and                            :
CHARLES DONOHOE,                             :
                                             :
                                             :
                      Defendants.            :

   GOVERNMENT’S NOTICE OF CORRESPONDENCE PURSUANT TO FEDERAL
                     RULE OF EVIDENCE 404(B)

       On January 21, 2022, the Court entered a scheduling order in this cast that, among other

things, directed the government to “notify the Defendants of its intention to introduce any 404(b)

evidence by February 11, 2022.” ECF No. 282. The government hereby notifies the Court that

earlier today, it provided written notice to counsel for defendants via email, pursuant to Fed. R.

Evid. 404(b), of crimes, wrongs, or acts that that the government may seek to introduce at trial.

                                             Respectfully submitted,

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